EXHIBIT 6
                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION


MOBILITY WORKX, LLC,

       Plaintiff,

v.                                                  Civil Action No. 4:17-cv-00872-ALM

CELLCO PARTNERSHIP,                                     JURY TRIAL DEMANDED
D/B/A VERIZON WIRELESS,

       Defendants.




     PLAINTIFF’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF
                     INTERROGATORIES TO DEFENDANT

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Mobility

 Workx (“Mobility” or “Plaintiff”) hereby objects and responds to Defendant’s First Set of

 Interrogatories to Defendant (“Interrogatories”) served by Defendant Cellco Partnership

 D/B/A Verizon Wireless (“Verizon”) on May 7, 2019.

                                RESERVATION OF RIGHTS


        Plaintiff makes the objections and responses herein (collectively, the “Responses”)

 in accordance with its interpretation and understanding of Defendant’s Interrogatories and in

 accordance with its current knowledge, understanding, and belief as to the facts and the

 information available to it as of the date of these Responses. If Defendant subsequently

 asserts an interpretation of any Interrogatory that differs from Plaintiff’s understanding,

 Plaintiff reserves the right to rely at the trial or in other proceedings on documents and

 information in addition to the information provided herein, regardless of whether such
                                                1
to mark, anything.                                   use an internal LTE emulator or packet-based

emulators to test their phones before they are sold to consumers. Their tools are internal use only.



INTERROGATORY NO. 11:


        Separately for each Asserted Claim of the Patents-in-Suit, identify: (i) every objective

indicia of non-obviousness (e.g., long-felt need, failed attempts of others, any expressed

skepticism, copying, teaching away, or commercial success of embodiments of the claimed

inventions [including




                                                            (ii) each item of evidence of non-

obviousness, if any; and (iii) for each such indicia or item of evidence, separately and fully state

the factual and legal bases concerning how it supports patentability. Your response should

include identity of each related Documents or Things by Bates number that relate thereto.

RESPONSE TO INTERROGATORY NO. 11:


Objections: Overly broad and unduly compound. The request, with its nested parentheticals, is

confusing. The request is misleading and assumes facts not in evidence to the extent it suggests or

assumes that certain “Licensed Products” constitute “embodiments of the claimed inventions.” The

request is premature, as discovery ongoing. The request is premature to the extent it seeks

information that is likely to be the subject of expert discovery and/or the subject of a rebuttal expert

report on invalidity. The request is unduly burdensome and seeks a level of detail that is


                                                   27
inappropriate for an interrogatory. The request improperly and prematurely seeks to force Mobility to

marshal all of its evidence. The request seeks information about factual and legal positions, when the

Protective Order precludes Plaintiff from reviewing or accessing key documents that would help

answer such questions (e.g., confidential financial documents), and when Defendants have objected

to any modifications to the Protective Order that would permit such access. Defendants cannot use

the Protective Order as both a sword and a shield.

        Subject to the foregoing general and specific objections, and without waiving same, the

inventions in question have: been incorporated into the LTE wireless communications standards,

adopted by mobile network operators, like Verizon, largely replaced Verizon’s legacy data and voice

network, experienced substantial commercial success, exceeded expectations (e.g., Verizon’s voice-

over LTE), and enabled Verizon to move most of its voice traffic to its LTE network. See, e.g.,

https://www.cnet.com/news/verizon-readies-launch-of-nationwide-voice-over-lte-service/ ; see also

Response to Interrogatory No. 14, incorporated here by reference. VoIP was being used in the early

2000s but was not implemented in cellular networks until much later because of a number of factors,

including handover delay and network delay. The inventions of the asserted claims helped solve both

of those problems in a manner that provided substantial gains in performance. See also the expert

report produced in this case.



INTERROGATORY NO. 12:


        State in detail the factual and legal basis for Your allegation that this case is exceptional

and that Plaintiff shall therefore recover its attorney fees and other recoverable expenses, under

35 U.S.C. § 285.




                                                  28
